Case 14-33104        Doc 43     Filed 06/03/15     Entered 06/03/15 10:56:32          Desc         Page 1
                                                  of 3




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14-33104
         Dawn Lipinski

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 09/11/2014.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 03/13/2015.

         6) Number of months from filing to last payment: 6.

         7) Number of months case was pending: 9.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 14-33104      Doc 43    Filed 06/03/15      Entered 06/03/15 10:56:32              Desc           Page 2
                                                of 3



 Receipts:

        Total paid by or on behalf of the debtor             $2,640.82
        Less amount refunded to debtor                       $2,552.23

 NET RECEIPTS:                                                                                       $88.59


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                              $0.00
     Court Costs                                                        $0.00
     Trustee Expenses & Compensation                                   $88.59
     Other                                                              $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                   $88.59

 Attorney fees paid and disclosed by debtor:                 $0.00


 Scheduled Creditors:
 Creditor                                    Claim         Claim        Claim         Principal        Int.
 Name                             Class    Scheduled      Asserted     Allowed          Paid           Paid
 COOK COUNTY                  Unsecured       6,500.00            NA             NA           0.00         0.00
 GMAC MORTGAGE CORPORATION    Unsecured      20,000.00            NA             NA           0.00         0.00
 NEW CENTURY MORTGAGE         Unsecured            0.00           NA             NA           0.00         0.00
 OCWEN LOAN SERVICING         Unsecured            0.00           NA             NA           0.00         0.00
 OCWEN LOAN SERVICING         Unsecured            0.00           NA             NA           0.00         0.00
 US BANK                      Unsecured            0.00           NA             NA           0.00         0.00
 US BANK                      Secured        10,000.00            NA             NA           0.00         0.00




UST Form 101-13-FR-S (9/1/2009)
Case 14-33104        Doc 43      Filed 06/03/15     Entered 06/03/15 10:56:32              Desc     Page 3
                                                   of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal            Interest
                                                            Allowed               Paid                Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00               $0.00            $0.00
       Mortgage Arrearage                                      $0.00               $0.00            $0.00
       Debt Secured by Vehicle                                 $0.00               $0.00            $0.00
       All Other Secured                                       $0.00               $0.00            $0.00
 TOTAL SECURED:                                                $0.00               $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                                   $0.00               $0.00            $0.00


 Disbursements:

         Expenses of Administration                                $88.59
         Disbursements to Creditors                                 $0.00

 TOTAL DISBURSEMENTS :                                                                            $88.59


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/03/2015                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
